           Case 1:20-mj-02005-BPG
           Case 1:20-cr-00229-UNA Document
                                  Document 11 Filed
                                              Filed 06/24/20
                                                    08/05/20 Page
                                                             Page 11 of
                                                                     of 55
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                                                                                   JUN 2 4 2020
                                                                            JAMES N. HATTEN, Clerk
                                                                            fly:
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

      UNITED STATES OF AMERICA
             v.                                    Criminal Indictment
      WARREN VERNELL ROBERTSON, III,
      ASANTE MOORE, AND
                                                   No.              Q
      ERIK ALFONSO COHEN, JR.


     THE GRAND JURY CHARGES THAT:

                                          Count One

        Beginning on a date unknown to the grand jury, but by no later than on or
     about January 3, 2020, and continuing through on or about March 16, 2020, in the
     Northern District of Georgia, the defendant, ASANTE MOORE, not being a licensed
     dealer of firearms within the meaning of Chapter 44 of Title 18 of the United States
     Code, did willfully engage in the business of dealing in firearms, all in violation of
     Title 18, United States Code, Section 922(a)(1)(A).

                                          Count Two

        On or about February 20, 2020, in the Northern District of Georgia, the
     defendant, ASANm MOORE, in connection with the acquisition of a firearm, that is,
     three (3) Taurus, model PT111 G2A, 9mm semi-automatic pistols, did knowingly
     make a false and fictitious written statement to Elite Pawn & Jewelry, Inc., a
     licensed dealer of firearms within the meaning of Chapter 44 of Title 18 of the
     United States Code, which statement was intended and likely to deceive Elite
     Pawn & Jewelry, Inc. as to a fact material to the lawfulness of the sale of the
       Case 1:20-mj-02005-BPG
       Case 1:20-cr-00229-UNA Document
                              Document 11 Filed
                                          Filed 06/24/20
                                                08/05/20 Page
                                                         Page 22 of
                                                                 of 55




aforementioned firearms, in that defendant ASANTE MOORE falsely represented
that he was the actual transferee of the firearms, when, in fact, as the defendant
then and there well knew, he intended to resell at least one of the firearms to
another person, all in violation of Title 18, United States Code, Section 922(a) (6).

                                    Count Three

   On or about March 16, 2020, in the Northern District of Georgia, the defendants,
WARREN VERNELL ROBERTSON, Ill, ASANTE MOORE, and ERIK ALFONSO COHEN, JR.,

aided and abetted by one another, in connection with the acquisition of at least one
of the following firearms listed below, that is,
                 Firearm                 Manufacturer         Model     Caliber
      One (1) semi-automatic pistol Ruger                    EC9s       9mm
      One (1) semi-automatic pistol MasterPiece Arms MPA3OT 9mm

did knowingly make a false and fictitious written statement to Arrowhead Pawn
Shop, a licensed dealer of firearms within the meaning of Chapter 44 of Title 18 of
the United States Code, which statement was intended and likely to deceive
Arrowhead Pawn Shop as to a fact material to the lawfulness of the sale of the
aforementioned firearms, in that defendant ASANTE MOORE falsely represented
that he was the actual buyer of the firearms, when, in fact, as defendant ASANTE
MOORE then and there well knew, defendants WARREN VERNELL ROBERTSON, III

arid EIUK ALFONSO COHEN, JR. were the actual buyers of the firearms, all in
violation of Title 18, United States Code, Section 922(a)(6), and Section 2.




                                          2
      Case 1:20-mj-02005-BPG
      Case 1:20-cr-00229-UNA Document
                             Document 11 Filed
                                         Filed 06/24/20
                                               08/05/20 Page
                                                        Page 33 of
                                                                of 55




                                     Count Four

   On or about March 16, 2020, in the Northern District of Georgia, the defendants,
WARREN VERNELL ROBERTSON, III, ASANTh MOORE, and ERIK ALFONSO COHEN, JR.,

aided and abetted by one another, did knowingly engage in the unlawful transfer
of a firearm, in that defendant ASANTE MOORE, not iReing a licensed importer,
manufacturer, dealer, and collector of firearms within the meaning of Chapter 44
of Title 18 of the United States Code, did knowingly and willfully transfer, sell,
transport, and deliver at least one of the following firearms listed below, that is,
                 Firearm                 Manufacturer        Model      Caliber
      One (1) semi-automatic pistol Ruger                   EC9s        9mm
      One (1) semi-automatic pistol MasterPiece Arms MPA3OT 9mm

to defendants WARREN VERNELL ROBERTSON, III and ERIKALFONSO COHEN, JR.,
who were not licensed importers, manufacturers, dealers, and collectors of
firearms within the meaning of Chapter 44 of Title 18 of the United States Code,
knowing, and having reasonable cause to believe, that defendants WARREN
VERNELL ROBERTSON, III and ERIK ALFONSO COHEN, JR. did not then reside in the

State of Georgia, the State in which defendant ASANTE MOORE was residing at the
time of the aforesaid transfer, sale, transport and delivery of the firearms, all in
violation of Title 18, United States Code, Section 922(a)(5), and Section 2.

                                     Count Five

   On or about March 16, 2020, in the Northern District of Georgia, the defendant
ERIK ALFONSO COHEN, JR., knowing that he had been previously convicted in

the District Court of Harford County, Maryland, on or about September 14, 2017,



                                          3
       Case 1:20-mj-02005-BPG
       Case 1:20-cr-00229-UNA Document
                              Document 11 Filed
                                          Filed 06/24/20
                                                08/05/20 Page
                                                         Page 44 of
                                                                 of 55




of the offense of Wearing, Carrying, or Transporting a Handgun, which was a
crime punishable by imprisonment for a term exceeding one year, did knowingly
possess, in and affecting interstate and foreign commerce, a firearm, that is, a
Ruger, model EC9s, 9mm semi-automatic pistol, all in violation of Title 18, United
States Code, Section 922(g)(1).

                                       Count Six

   On or about March 16, 2020, in the Northern District of Georgia, the defendant,
ERIK ALFONSO COHEN, JR., in a matter within the jurisdiction of the executive

branch of the Government of the United States, that is, the Bureau of Alcohol,
Tobacco, Firearms and Explosives (ATF), did knowingly and willfully make a
material false, fictitious, and fraudulent statement to ATF Special Agent J.G., in
that the defendant stated that he had remained inside WARREN VERNELL
ROBERTSON, III’s rental vehicle and had not entered Arrowhead Pawn Shop that

day, when, in fact, as he then and there well knew, the defendant had not remained
in WARREN VERNELL ROBERTSON, III’s rental vehicle and had entered Arrowhead
Pawn Shop, all in violation of Title 18, United States Code, Section 1001 (a) (1).

                                  Forfeiture Provision

   Upon conviction of one or more of the offenses alleged in Counts One through
Five of this Indictment, the defendants, WARREN VERNELL ROBERTSON, III, ASANm
MOORE, and ERIK ALFONSO COHEN, JR., shall forfeit to the United States, pursuant

to Title 18, United States Code, Section 924(d), and Title 28, United States Code,
Section 2461(c), all firearms and ammunition involved in the commission of the
offense(s).

                                           4
      Case 1:20-mj-02005-BPG
      Case 1:20-cr-00229-UNA Document
                             Document 11 Filed
                                         Filed 06/24/20
                                               08/05/20 Page
                                                        Page 55 of
                                                                of 55




   If, as a result of any act or omission of the defendants, any property subject to
forfeiture:
   a. cannot be located upon the exercise of due diligence;
   b. has been transferred or sold to, or deposited with, a third person;
   c. has been placed beyond the jurisdiction of the Court
   d. has been substantially diminished in value; or
   e. has been commingled with other property which cannot be subdivided
      without undue complexity or difficulty,
the United States intends, pursuant to Title 21, United States Code, Section 853(p)
and Title 28, United States Code, Section 2461(c), to seek forfeiture of any other
property of the defendants up to the value of the forfeitable property.


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BYUNG J. PAK
 United States Attorney

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